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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



  JOSEPH HOFFLER,

            Plaintiff,
                   v.                                             Civil Action No. 22-2744 (JDB)
  FRANK KENDALL, III, Secretary of the
  United States Air Force,

            Defendant.


                                                  ORDER

        Plaintiff Joseph Hoffler brought this action against Frank Kendall, the Secretary of the

United States Air Force (the “Secretary”), in his official capacity challenging the Air Force Board

for Correction of Military Records’s (the “Board”) denial of Hoffler’s request to reconsider his

application to correct his military record as arbitrary and capricious under the Administrative

Procedure Act. Compl. [ECF No. 1] at 1. The Secretary now moves to either dismiss this action

for improper venue or, alternatively, transfer it to the District of Maryland or another district where

venue is proper. Def.’s Mot. to Dismiss, or Alternatively, to Transfer [ECF No. 4] (“Mot. to

Transfer”) at 3.1 If the Court decides to transfer the action to another district, the Secretary also

requests an additional 45 days after the date the Complaint is docketed in the new district to answer.

Id. at 1. Hoffler opposes the motion to dismiss, consents to transfer to the District of Maryland,

and opposes the 45-day extension in favor of an extension until January 27, 2023. Notice of Pl.’s




        1
          Because the Secretary included the motion itself and the memorandum of law in support of the motion in
the same filing, the Court will reference the PDF pagination of this document in its citations.

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Consent to Transfer Action to U.S. District Ct. for the District of Maryland (Greenbelt) [ECF No.

5] (“Consent to Transfer”) at 1–2.

        In cases brought against an officer of the federal government in his official capacity, venue

is proper “in any judicial district in which (A) a defendant in the action resides, (B) a substantial

part of the events or omissions giving rise to the claim occurred, or a substantial part of property

that is the subject of the action is situated, or (C) the plaintiff resides if no real property is involved

in the action.” 28 U.S.C. § 1391(e)(1).

        The District of Columbia is an improper venue for this action. The Secretary resides in

Arlington, Virginia. Nader v. Sec’y of Air Force, Civ. A. No. 22-2023 (RDM), 2022 WL

17904133, at *2 (D.D.C. Dec. 23, 2022) (“The Secretary of the Air Force’s residence is . . . the

residence of the Air Force itself. And the Air Force resides at the Pentagon, which is located in

Arlington, Virginia, not the District of Columbia.”); see also Decl. of Deborah F. Davidson [ECF

No. 4-1] (“Davidson Decl.”) ¶ 4. The Board’s challenged actions all took place at Joint Base

Andrews, located in Maryland. Mot. to Transfer at 3–4; see Davidson Decl. ¶¶ 7–9; see also id.

¶ 10 (attesting that “no portion” of the challenged actions took place in D.C.); see also State v.

U.S. Army Corps of Engineers, 304 F. Supp. 3d 56, 65–66 (D.D.C. 2018) (“In cases brought under

the APA, courts generally focus on where the decisionmaking process occurred to

determine where the claims arose.” (quoting Nat’l Ass’n of Home Builders v. EPA, 675 F. Supp.

2d 173, 179 (D.D.C. 2009)). And Hoffler resides in Hertford, North Carolina. Mot. to Transfer

at 3–4; see Compl. at 1 (providing North Carolina address in the case caption). Accordingly, the

only proper venues for this action are the Eastern District of Virginia, the District of Maryland,

and the Eastern District of North Carolina.




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         28 U.S.C. § 1406(a) provides that “[t]he district court of a district in which is filed a case

laying venue in the wrong division or district shall dismiss, or if it be in the interest of justice,

transfer such case to any district or division in which it could have been brought.” “The decision

whether a transfer or a dismissal is in the interest of justice . . . rests within the sound discretion of

the district court.” Gage v. Somerset Cnty., 322 F. Supp. 3d 53, 56 (D.D.C. 2018) (quoting Naartex

Consulting Corp. v. Watt, 722 F.2d 779, 789 (D.C. Cir. 1983)).

         Here, since the parties agree that venue is proper in the District of Maryland, and because

Hoffler consents to transfer the case to that district, the Court finds that it is in interests of justice

to transfer the case to the District of Maryland rather than dismiss it. The Court will also grant the

Secretary’s motion for an extension, but will allow the Secretary 35 days, rather than the requested

45, from the date the action is docketed in the District of Maryland to answer the Complaint.

                                              *     *      *

         For the foregoing reasons, and upon consideration of [4] defendant’s motion to dismiss or,

alternatively, to transfer, and for extension of time to answer, and the entire record herein, it is

hereby

         ORDERED that [4] defendant’s motion to transfer is GRANTED; it is further

         ORDERED that [4] defendant’s motion to dismiss is DENIED; it is further

         ORDERED that [4] defendant’s motion for extension of time is GRANTED; it is further

         ORDERED that this action is TRANSFERRED to the United States District Court for

the District of Maryland; and it is further

         ORDERED that defendant shall answer or otherwise respond to the complaint by not

later than 35 days after the date on which the action is docketed in the District of Maryland.

         SO ORDERED.



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                                                      /s/

                                                JOHN D. BATES
                                           United States District Judge


Dated: January 12, 2023




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